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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER GRANTING IN PART AND
                                                   DENYING IN PART MONSANTO’S
   Bailey v. Monsanto,                             MOTIONS TO DISMISS WITH
   Case No. 3:24-cv-01595-VC                       PREJUDICE FOR FAILURE TO
                                                   SUBMIT A PLAINTIFF FACT SHEET
   Carmiel v. Monsanto,                            Re: Dkt. Nos. 19572, 19609
   Case No. 3:22-cv-03389-VC

   Kocur v. Monsanto,
   Case No. 3:24-cv-01445-VC

   Martin v. Monsanto,
   Case No. 3:23-cv-05241-VC

   McAlister v. Monsanto,
   Case No. 3:24-cv-00684-VC

   Popp v. Monsanto,
   Case No. 3:24-cv-01613-VC

   Repine v. Monsanto,
   Case No. 3:23-cv-06435-VC

   Sliva v. Monsanto,
   Case No. 3:24-cv-01615-VC

   Teague v. Monsanto,
   Case No. 3:23-cv-04605-VC


       Monsanto filed motions to dismiss with prejudice for failure to submit a plaintiff fact
sheet in each of the above-captioned cases. It subsequently withdrew the motion in all but four of
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the cases, which are listed below. See Dkt. No. 19680. The plaintiffs in the remaining four cases

have not filed oppositions to Monsanto’s motions. Therefore, Monsanto’s motions to dismiss

with prejudice in the following four cases are granted as unopposed. Monsanto’s motions in the

other cases are denied as moot.


       Sliva v. Monsanto,
       Case No. 3:24-cv-01615-VC

       Teague v. Monsanto,
       Case No. 3:23-cv-04605-VC

       Repine v. Monsanto,
       Case No. 3:23-cv-06435-VC

       Bailey v. Monsanto,
       Case No. 3:24-cv-01595-VC


       IT IS SO ORDERED.

Dated: January 13, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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